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UN|TED STATES OF A|VIER|CA,
P|aintiff,

VS.
CR. NO. 05-20`178-5

EL|JAH LESTEFl,

Defendant.

 

OHDER ON CONT|NUANCE AND SPEC|FYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1 , 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a

re ort date of Monda Au ust 29 2005 at 9:30 a.m., in Courtroom 1. 11th F|oor of the

 

Federa| Building, lVlemphis, TN.
The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need for a spe dy trial.
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J. D NIEL BREEN \
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with Rule 55 and/or 32(1:)) FHCrP on ’ Z"O

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UNITED sTATE onlle COUR - WESTERN D's'TRCT 0 TESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CR-20178 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

